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UNITED STATES DISTRICT COUR AUG ~8 py 2:59
MIDDLE DISTRICT OF FLORIDA... .

ORLANDO DIVISION SOULE Bis faiep GQURT
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SHELBY JONES BRYANT
Plaintiff, CASENO.: (&. 18 ~ Gy -1242~ORL-YI- GS KL
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BRIDGECREST CREDIT COMPANY, LLC,

Defendant.
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COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff, Shelby Jones Bryant, by and through the undersigned
counsel, and sues Defendant, BRIDGECREST CREDIT COMPANY, LLC, and in
support thereof respectfully alleges violations of the Telephone Consumer Protection Act,
47 U.S.C. § 227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act,
Fla. Stat. § 559.55 et seq. “FCCPA”).

INTRODUCTION

1. The TCPA was enacted to prevent companies like Defendant from
invading American citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132
S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the
scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

at night; they force the sick and elderly out of bed; they hound us until we want to rip the
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telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably
intended to give telephone subscribers another option: telling the auto-dialers to simply
stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 1256(1 1" Cir. 2014).

4, According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are thousands
of complaints to the FCC every month on both telemarketing and robo-calls. The FCC
received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal
to Protect and Empower Consumers Against Unwanted Robo-calls, Texts to Wireless
Phones, Federal Communications Commission, (May 27, 2015),
http://transition.fec.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-
333676A1 pdf.

JURISDICTION AND VENUE

5. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of
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47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, 8.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11™ Cir. 2014)

8. The alleged violations described herein occurred in Orange County,
Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2)
as it is the judicial district in which a substantial part of the events or omissions giving
rise to this action occurred.

FACTUAL ALLEGATIONS

9, Plaintiff is a natural person, and citizen of the State of Florida, residing in
Orlando, Orange County, Florida

10. ‘Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

11. Plaintiffis an “alleged debtor.”

12. _ Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755
F. 3d 1265 (11" Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11"
Cir. 2014).

13. Defendant is a corporation with its principal place of business located at
7300 E Hampton Ave, Suite 101 Mesa, Arizona 85209 and which conducts business in
the State of Florida through its registered agent, Corporation Service Company, located at
1201 Hays Street, Tallahassee, Florida 32301.

14. The debt that is the subject matter of this Complaint is a “consumer debt”
as defined by Florida Statute §559.55(6).

15. Defendant is a “creditor” as defined in Florida Statute §559.55(5)
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16. Defendant called Plaintiff on Plaintiffs cellular telephone approximately
one thousand two hundred (1,200) times in an attempt to collect a debt related to an auto
loan.

17, Defendant attempted to collect an alleged debt from Plaintiff by this
campaign of telephone calls.

18. Upon information and belief, some or all of the calls the Defendant made
to Plaintiff’s cellular telephone number were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that she knew it was an
auto-dialer because of the vast number of calls she received and because she heard a
pause when she answered her phone before a voice came on the line and/or a pre-
recorded message advising the call was from Bridgecrest.

19. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (407) ***- 6130, and was the called party and recipient of Defendant’s calls.

20. Upon Receipt of the calls from Defendant, Plaintiffs caller ID identified
the calls were being initiated from, but not limited to, the following number(s): (800)
967-8526, and when that number is called, an automated message answers
“Thank you for calling Bridgecrest.”

21. On several occasions since the inception of the account, Plaintiff

instructed Defendant’s agent(s) to stop calling her cellular telephone.
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22.‘ Inor about February 2017, Plaintiff answered a call from Defendant to her
aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of
Defendant and informed the agent/representative that the calls to her cellular telephone
were harassing, when she had the money she would pay the Defendant, and demanded
that Defendant cease calling her aforementioned cellular telephone number.

23. Despite clearly and unequivocally revoking any consent Defendant may
have believed they had to call Plaintiff on her cellular telephone, Defendant continues to
place automated calls to Plaintiff.

24. | Each subsequent call the Defendant made to Plaintiff's aforementioned
cellular telephone was done so without the “express consent” of Plaintiff.

25. Each subsequent call Defendant made to Plaintiff's aforementioned
cellular telephone number was knowing and willful.

26. Additionally, in or about October 2017, Plaintiff answered a call from
Defendant and spoke to an agent/representative of Defendant. Plaintiff explained to
Defendant’s agent/representative that the automated calls to her cellular telephone were
harassing and again demanded that all calls to her cellular telephone cease

27. Similarly, in or about late November of 2017, Plaintiff answered a call
from Defendant, was met with an extended pause, was eventually connected to an
agent/representative of Defendant, explained to the agent/representative that her son
recently passed away, we she had a number of bills associated with his funeral that she

needed to take care of, and was too upset to talk. Accordingly, Plaintiff gave the phone
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to her daughter and, at Plaintiffs instruction, Plaintiff's daughter instructed Defendant’s
agent/representative to stop calling Plaintiff's aforementioned cellular telephone number.

28. Again, on or about January 29, 2018, Plaintiff spoke to an
agent/representative of Defendant and demanded a cessation of calls to her cellular
telephone from Defendant.

29. Plaintiff's numerous conversations with Defendant’s agent/representative
wherein she demanded a cessation of calls were in vain as Defendant continued to
bombard her with automated calls unabated.

30. Defendant intentionally harassed and abused Plaintiff on numerous
occasions by calling several times during one day, and on back to back days, with such
frequency as can reasonably be expected to harass.

31. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff's
cellular telephone in this case.

32. | Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice just as it did to Plaintiffs cellular telephone in
this case, with no way for the consumer, Plaintiff, or Defendant to remove the number.

33. | Defendant’s corporate policy is structured so as to continue to call
individuals like Plaintiff, despite these individuals explaining to Defendant they wish for
the calls to stop.

34. | Defendant has numerous other federal lawsuits pending against it alleging

similar violations as stated in this Complaint.
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35. | Defendant has numerous complaints across the country against it asserting
that its automatic telephone dialing system continues to call despite requested to stop.

36. Defendant has had numerous complaints from consumers across the
country against it asking to not be called; however, Defendant continues to call the
consumers.

37. | Defendant’s corporate policy provided no means for Plaintiff to have her
number removed from Defendant’s call list.

38. Defendant has a corporate policy to harass and abuse individuals despite
actual knowledge the called parties do not wish to be called.

39. Not a single call placed by Defendant to Plaintiff was placed for
“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

40. Defendant willfully and/or knowingly violated the TCPA with respect to
Plaintiff.

41. From each and every call placed without consent by Defendant to
Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the
intrusion upon her right of seclusion.

42. From each and every call without express consent placed by Defendant to
Plaintiff's cellular telephone, Plaintiff suffered the injury of occupation of her cellular
telephone line and cellular phone by unwelcome calls, making the phone unavailable for
legitimate callers or outgoing calls while the phone was ringing from Defendant’s calls.

43. | From each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of
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her time. For calls she answered, the time she spent on the call was unnecessary as she
repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste
time to unlock the phone and deal with missed call notifications and call logs that
reflected the unwanted calls. This also impaired the usefulness of these features of
Plaintiff's cellular telephone, which are designed to inform the user of important missed
communications.

44. __ Each and every call placed without express consent by Defendant to
Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to
Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of
answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the
phone and deal with missed call notifications and call logs that reflected the unwanted
calls. This also impaired the usefulness of these features of Plaintiff’s cellular phone,
which are designed to inform the user of important missed communications.

45. Each and every call placed without express consent by Defendant to
Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiff's cell
phone’s battery power.

46. Each and every call placed without express consent by Defendant to
Plaintiffs cell phone where a voice message was left occupied space in Plaintiff's phone
or network.

47. Each and every call placed without express consent by Defendant to
Plaintiff's cell phone resulted in the injury of a trespass to Plaintiff's chattel, namely her

cellular phone and her cellular telephone services.
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48. Asa result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety
and nervousness.

COUNT I
(Violation of the TCPA)

49. Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty
eight (48) as if fully set forth herein.

50. Defendant willfully violated the TCPA with respect to Plaintiff, especially
for each of the auto-dialer calls made to Plaintiffs cellular telephone after Plaintiff
notified Defendant that she wished for the calls to stop.

51. Defendant repeatedly placed non-emergency telephone calls to Plaintiff's
cellular telephone using an automatic telephone dialing system or prerecorded or artificial
voice without Plaintiffs prior express consent in violation of federal law, including 47
U.S.C § 227(b)(1)(A)iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against BRIDGECREST CREDIT COMPANY, LLC for statutory
damages, punitive damages, actual damages, treble damages, enjoinder from further
violations of these parts and any other such relief the court may deem just and proper.

COUNT I
(Violation of the FCCPA)

52. Plaintiff fully incorporates and re-alleges paragraphs one (1) through Forty

eight (48) as if fully set forth herein
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53.  Atall times relevant to this action Defendant is subject to and must abide
by the laws of the State of Florida, including Florida Statute § 559.72.

54. Defendant has violated Florida Statute § 559.72(7) by willfully
communicating with the debtor or any member of his or her family with such frequency
as can reasonably be expected to harass the debtor or his or her family.

55. | Defendant has violated Florida Statute § 559.72(7) by willfully engaging
in other conduct which can reasonably be expected to abuse or harass the debtor or any
member of his or her family.

56. | Defendant’s actions have directly and proximately resulted in Plaintiff's
prior and continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against BRIDGECREST CREDIT COMPANY, LLC for statutory
damages, punitive damages, actual damages, costs, interest, attorney fees, enjoinder from
further violations of these parts and any other such relief the court may deem just and
proper.

Respectfully submitted,

 

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